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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13            Debtor and Debtor in Possession.         Chapter 11 Cases
      ____________________________________
14
14    In re:                                           NOTICE OF FINAL HEARING ON
                                                       DEBTORS’ EMERGENCY MOTION
15
15    FITNESS ANYWHERE LLC, a Delaware                 FOR ENTRY OF AN ORDER: (I)
16    limited liability company, dba TRX and TRX       AUTHORIZING THE DEBTORS TO
16
      Training,                                        USE       CASH       COLLATERAL
17
17                                                     PURSUANT TO 11 U.S.C. §§ 361, 361
              Debtor and Debtor in Possession.         AND      363;   (II)   GRANTING
18
18    ____________________________________             ADEQUATE PROTECTION;        AND
                                                       (III) GRANTING RELATED RELIEF
19
19
20       Affects both Debtors
20
                                                       DATE:      June 30, 2022
21
21      Affects TRX Holdco, LLC only                   TIME:      10:00 a.m.
                                                       PLACE:     *Via ZoomGov
22
22       Affects Fitness Anywhere, LLC only                       Courtroom 5C
                                                                  411 West Fourth Street
23
23                                                                Santa Ana, CA 92701
24
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 11          PLEASE TAKE NOTICE that the Court will hold a hearing on June 30, 2022, at 10:00

 22   a.m. (the “Final Hearing”), to consider approval, on a final basis, of the Debtors’ Emergency

 33   Motion For Entry of An Interim Order: (I) Authorizing The Debtors To Use Cash Collateral

 44   Pursuant To 11 U.S.C. §§ 361, 362 and 363; (II) Granting Adequate Protection; And (III)

 55   Granting Related Relief (the “Cash Collateral Motion”) (Doc 7), filed by TRX Holdco, LLC and

 66   Fitness Anywhere LLC, dba TRX and TRX Training (together, the “Debtors”), the debtors and

 77   debtors-in-possession in the above-captioned, jointly-administered, Chapter 11 bankruptcy cases.

 88          PLEASE TAKE FURTHER NOTICE that the Final Hearing will be held virtually via

 99   ZoomGov. Information to access and attend the virtual hearing via ZoomGov can be obtained
10
10    on the Bankruptcy Court’s website by viewing Judge Clarkson’s tentative ruling calendar for
11
11    June 30, 2022.
12
12           PLEASE TAKE FURTHER NOTICE that the Debtors will file any desired
13
13    supplement to the Cash Collateral Motion, including any proposed modifications to the Budgets,
14
14    by no later than June 15, 2022.
15
15           PLEASE TAKE FURTHER NOTICE that any opposition to entry of an order
16
16    granting the Cash Collateral Motion on a final basis must be filed and served on proposed
17
17    counsel to the Debtors by no later than June 28, 2022.
18
18           PLEASE TAKE FURTHER NOTICE that any reply to an opposition may be filed
19
19    with the Court at any time prior to the Final Hearing or asserted orally at the Final Hearing.
20
20    Dated: June 10, 2022                          TRX HOLDCO, LLC
21
21                                                  FITNESS ANYWHERE LLC

22
22                                                  By:     /s/ Krikor J. Meshefejian
                                                            RON BENDER
23
23                                                          KRIKOR J. MESHEFEJIAN
                                                            LINDSEY L. SMITH
24
24
                                                            LEVENE, NEALE, BENDER,
25
25                                                          YOO & GOLUBCHIK L.L.P.
                                                            Proposed Attorneys for Chapter 11 Debtors
26
26                                                          and Debtors in Possession
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27
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034

A true and correct copy of the foregoing document entitled (specify): NOTICE OF FINAL HEARING ON DEBTORS’
EMERGENCY MOTION FOR ENTRY OF AN ORDER: (I) AUTHORIZING THE DEBTORS TO USE CASH
COLLATERAL PURSUANT TO 11 U.S.C. §§ 361, 361 AND 363; (II) GRANTING ADEQUATE PROTECTION; AND (III)
GRANTING RELATED RELIEF will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 10, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 10, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


Honorable Scott C. Clarkson
U.S. Bankruptcy Court, Ronald Reagan Federal Building
411 West Fourth Street
Suite 5130
Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 10, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 10, 2022                  Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                                              Michael J Hauser
                                                                              United States Trustee
In re TRX Holdco, LLC                                                         411 W Fourth St Suite 7160
File No. 9738                                                                 Santa Ana, CA 92701-4593
UST, 20 Largest, Secured



                                         Cole Schotz P.C.                     Creative Artists Agency
Baker Tilly US, LLP                      25 Main Street P.O. Box 800          Attn: Jeffrey Freedman
10 Terrace Court PO Box 7398             Hackensack, NJ 07602                 2000 Avenue of the Stars
Madison, WI 53707-7398                                                        Los Angeles, CA 90067


JMBM LLP                                 Morrison & Morrison                  Sterling Legal Solutions, Inc.
1900 Avenue of the Stars                 222 Souther Riverside Plaza          Attn: Stephanie Sterling
Los Angeles, CA 90067                    Chicago, IL 60606                    26895 Aliso Creek Rd., B-129
                                                                              Aliso Viejo, CA 92656


UDR-Eight 80                             UDR-Eight 80                         Sterling Legal Solutions, Inc.
1590 Adams Avenue                        Agent for Service of Process         Agent for Service of Process
PO Box 2350                              330 N. Brand Blvd., Suite 700        720 14th Street
Costa Mesa, CA 92628                     Glendale, CA 91203                   Sacramento, CA 95814

                                         OTHER




Farmers & Merchants Bank                 Farmers & Merchants Bank
2421 East Coast Hwy                      Attn: Christine M Bowman
Corona del Mar, CA 92625                 302 Pine Avenue
                                         Long Beach, CA 90802


                                                      SECURED




Counsel for Woodforest National Bank     Woodforest National Bank             Woodforest National Bank
Katten Muchin Rosenmann LLP              Attn: CMB Loan Operations            Attn: David A. Macdonald
Attn: Jan Harris Cate, Esq.              25231 Grogans Mill Road, 6th Floor   1330 Lake Robbins Drive, Suite 500
515 South Flower Street, Suite 1000      The Woodlands, TX 77380              The Woodlands, TX 77380
Los Angeles, CA 90071

Counsel for Woodforest National Bank
ReedSmith
Marsha Houston/Christopher Rivas
355 South Grand Avenue, Suite 2900
Los Angeles, CA, 90071
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In re Fitness Anywhere LLC         Exemplar Design                    Michael J Hauser
File No. 9732                      4680 Parkway Drive                 United States Trustee
UST, 20 Largest and Secured        Suite 300                          411 W Fourth St Suite 7160
                                   Mason, OK 45040                    Santa Ana, CA 92701-4593


Exemplar Design                    Core Health & Fitness, LLC         Stephen Gould Corporation
4680 Parkway Drive Suite 300       4400 Northeast 77th Avenue         35 South Jefferson Road
Mason, OH 45040                    Suite 300                          Whippany, NJ 07981
                                   Manufacturer Land America
                                   Vancouver, WA 98662

Flexport Inc                       UPS Plan 0386NE                    Duane Morris LLP
P.O. Box 207244                    55 Glenlake Parkway NE             30 South 17th Street
Dallas, TX 75320-7244              Atlanta, GA 30328                  Philadelphia, PA 19103-4196



Buy Box Experts                    MAN Staffing, LLC                  Syzygy Digital Marketing, Inc
3020 N Cullen Ct. Pleasant         550 East Del Amo Boulevard         41 Flatbush Avenue
Grove, UT 84062                    Carson, CA 90746                   Brooklyn, NY 11217



Lahlouh Inc                        US Customs and Border Protection   McCollister's Transportation Group, Inc
Attn: H. John Lahlouh              PO BOX 979126                      8 Terri Lane
1649 Adrian Road                   St. Louis, MO 63197-9000           Burlington, NJ 08016
Burlingame, CA 94010


NetSuite Inc                       Google                             AMEX Corp Card
500 Oracle Parkway                 P.O. Box 39000                     P.O. Box 0001
Redwood City, CA 94065             San Francisco, CA 94139            Los Angeles, CA 90096



The Trade Desk                     Dirbos Inc.                        Redwood Supply Chain Solutions
42 N Chestnut St.                  27758 Santa Margarita Pkwy         1765 North Elston Avenue Suite 216
Ventura, CA 93001                  Suite 366                          Chicago, IL 60642
                                   Mission Viejo, CA 92691


USA Global Logistics LLC           ISUPPORT WORLDWIDE LLC             Core Health & Fitness, LLC
255 Madsen Drive                   1019 West James St                 Agent for Service of Process
Bloomingdale, IL 60108             Kent, WA 98032                     330 N. Brand Blvd, Ste 700
                                                                      Glendale, CA 91203


Stephen Gould Corporation          Flexport Inc.                      United Parcel Service, Inc.
Agent for Service of Process       Agent for Service of Process       Agent for Service of Process
2710 Gateway Oaks Drive            5716 Corsa Ave.                    2710 Gateway Oaks Dr.
Ste 150N                           Ste 110                            Ste 150N
Sacramento, CA 95833               Westlake Village, CA 91362         Sacramento, CA 95833
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 McCollister’s Transportation            Netsuite Inc.                        Google
 Systems, Inc.                           Agent for Service of Process         Agent for Service of Process
 Agent for Service of Process            2710 Gateway Oaks Dr.                2710 Gateway Oaks Dr.
 2710 gateway Oaks Dr.                   Ste 150N                             Ste 150N
                                                                              Sacramento, CA 95833
 Ste 150N                                Sacramento, CA 95833
 Sacramento, CA 95833


 Man Staffing LLC                        Trade Desk                           Dirbos
 Attn: Miguel A Navarro                  Agent for Service of Process         Agent for Service of Process
                                                                              101 N. Brand Blvd. 11th Floor
 550 E Del Amo Blvd.                     2710 Gateway Oaks Dr.
                                                                              Glendale, CA 91203
 Suite C                                 Ste 150N
 Carson, CA 90746                        Sacramento, CA 95833


 Redwood Supply Chain Solutions
 Attn: David Robinson
 323 W 25th Ave.
 San Mateo, CA 94403




 SECURED:                                                                     Counsel for Woodforest National Bank
                                                                              ReedSmith
                                                                              Marsha Houston/Christopher Rivas
                                                                              355 South Grand Avenue, Suite
                                                                              2900 Los Angeles, CA, 90071

Counsel for Woodforest National Bank     Woodforest National Bank             Woodforest National Bank
Katten Muchin Rosenmann LLP              Attn: CMB Loan Operations            Attn: David A. Macdonald
Attn: Jan Harris Cate, Esq.              25231 Grogans Mill Road, 6th Floor   1330 Lake Robbins Drive, Suite 500
515 South Flower Street, Suite 1000      The Woodlands, TX 77380              The Woodlands, TX 77380
Los Angeles, CA 90071
